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                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
                                         450 Golden Gate Avenue
                                         San Francisco, CA 94102
                                         ___________________
                                          www.cand.uscourts.gov

Mark B. Busby                                                                GENERAL COURT NUMBER
CLERK OF COURT                                                                        415-522-2000

                                           February 21, 2024
                                          SECOND NOTICE
William P. Ramey, III
Ramey & Schwaller, LLP
5020 Montrose Boulevard, Suite 800
Houston, TX 77006


Re:    Missed Call, LLC v. Twilio Inc.
       Case Number: 24-cv-00681-LB

Dear Counsel/Parties:


   This matter has been randomly assigned to United States Magistrate Judge Laurel Beeler for all
purposes including trial.

    The magistrate judges of this district have been designated to conduct any and all proceedings in a
civil case including a jury or nonjury trial and to order the entry of a final judgment, upon the consent
of all parties.

    A review of our records discloses that the Consent to Proceed Before a United States Magistrate
Judge or Declination to Proceed before a Magistrate Judge and Request for Reassignment to a United
States District Judge has not been filed in this case. All parties are asked to complete the attached
form documenting either consent or request for reassignment and e-file it with the Court by February
28, 2024. This form can be found on the Court’s website at www.cand.uscourts.gov. Please note that
any party is free to withhold consent to proceed before a magistrate judge without adverse substantive
consequences.

                                              Mark B. Busby
                                              Clerk, United States District Court

                                              ________________________
                                              Elaine Kabiling, Deputy Clerk to the
                                              Honorable LAUREL BEELER
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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                                NORTHERN DISTRICT OF CALIFORNIA

                                   5                                      SAN FRANCISCO DIVISION

                                   6
                                        MISSED CALL, LLC,
                                   7                                                        Case No. 24-cv-00681-LB
                                                       Plaintiff,
                                   8
                                                v.                                          CONSENT OR DECLINATION
                                   9                                                        TO MAGISTRATE JUDGE
                                        TWILIO INC.,                                        JURISDICTION
                                  10
                                                       Defendant.
                                  11

                                  12      INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you (if
Northern District of California
 United States District Court




                                  13   you are the party) or the party you represent (if you are an attorney in the case) choose(s) to
                                       consent or decline magistrate judge jurisdiction in this matter. Sign this form below your selection.
                                  14

                                  15      ( ) Consent to Magistrate Judge Jurisdiction
                                  16
                                           In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
                                  17   United States magistrate judge conduct all further proceedings in this case, including trial and
                                       entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
                                  18   United States Court of Appeals for the Ninth Circuit.
                                  19                  OR
                                  20
                                          ( ) Decline Magistrate Judge Jurisdiction
                                  21
                                           In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States
                                  22   magistrate judge conduct all further proceedings in this case and I hereby request that this case be
                                       reassigned to a United States district judge.
                                  23

                                  24   DATE: ________________                                 NAME:
                                  25                                                   COUNSEL FOR
                                                                                       (OR “PRO SE”):
                                  26

                                  27

                                  28                                                                          Signature
